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     Attorneys for Plaintiffs BENJAMIN KEGELE,
11   THOMAS DOROBIALA, SPENCER HENRY,
12   themselves and on behalf of all others similarly situated

13                         UNITED STATES DISTRICT COURT
14                       EASTERN DISTRICT OF CALIFORNIA
15   BENJAMIN KEGELE, THOMAS                  ) CASE NO.
     DOROBIALA, SPENSER HENRY,                )
16   themselves and on behalf of all others   ) CLASS ACTION COMPLAINT
     similarly situated,                      )
17                                            ) JURY TRIAL DEMANDED
                  Plaintiffs,                 )
18                                            ) 1. Violation of Magnuson-Moss
           v.                                 )    Warranty Act (Federal “Lemon
19                                            )    Law”), 15 U.S.C. § 2301, et seq.;
     FORD MOTOR COMPANY, and                  )
20   DOES 1 through 10, inclusive,            ) 2. Violation of California Unfair
                                              )    Competition Law, Cal. Bus. &
21                                            )    Prof. Code §§ 17200, et seq.;
                  Defendants.                 )
22                                            ) 3. Violation of the California False
                                              )    Advertising Law, Cal. Civ. Code
23                                            )    §§ 17500, et seq.;
                                              ) 4. Violation of Song-Beverly
24                                            )    Consumer Warranty Act
                                              )
25                                            )    (California’s “Lemon Law”) for
                                              )    Breach of Warranty, Cal. Civ. §
26                                            )    1790, et seq.;
                                              ) 5. Violation of California Consumer
27                                            )    Legal Remedies Act ,Cal. Civ.
                                              )    Code §§ 1750, et seq.
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                                              )

                                               1
 1                                      INTRODUCTION
 2
           Plaintiffs Benjamin Kegele, Thomas Dorobiala, Spenser Henry themselves
 3
     and on behalf of the other members of the nationwide class they seek to represent
 4
     (“the Class”) against Ford Motor Company (“FORD” or “Defendant”), allege upon
 5
     personal knowledge as to themselves and their own acts, and as to all other matters
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     upon information and belief, based upon the investigation made by the undersigned
 7
     attorneys, as follows:
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                                     NATURE OF THE CASE
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           1.      Plaintiffs bring this class action seeking redress and remedy from
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     FORD on behalf of himself and the other Class Members, each of whom purchased
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     or leased one or more of the following vehicles: May 2020 to May 2022 Mustang
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     Mach-E (“Defective Vehicles”).
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           2.      Each of the Defective Vehicles contains a uniformly designed
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     defective high voltage battery main contactor that could overheat, thereby
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     immobilizing the vehicle or making it lose power during operation. The contactors
17
     on these vehicles are prone to fail during ordinary and foreseeable driving
18
     situations.
19
           3.      FORD has actual knowledge that, because of the way in which the
20
     battery contactors were designed and integrated into the Defective Vehicles, the
21
     contactor switch could suddenly fail during normal operation, cutting off engine
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     power and certain electrical systems in the cars, which in turn, disables key vehicle
23
     components, safety features or other vehicle functions, leaving occupants
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     vulnerable to crashes, serious injuries, and death.1
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           4.      FORD’s defective design has proximately caused and continues to
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     cause Plaintiff and the other Class Members to suffer economic damages because
27
28   1
      See Exhibit A, Ford Recall Letter to the National Highway Traffic Safety
     Administration (“NHTSA”).

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 1   they purchased or leased vehicles that: (a) have diminished value as they presently
 2   exist because the vehicles cannot be operated safely without fear of catastrophic
 3   event; and (b) require modification of the battery contactors beyond the “over the
 4   air” software update that FORD claims will solve the issue.
 5          5.        In fact, if FORD is simply cutting power thru the “over the air”
 6   software update, recharge times will be much slower and acceleration times will be
 7   longer.
 8          6.        Through this action, Plaintiffs, themselves and on behalf of the other
 9   Class Members, seeks injunctive relief in the form of a repair to fully remedy the
10   defects in the battery contactors such that the Defective Vehicles have their
11   economic value restored and can be operated safely and/or damages to compensate
12   them for the diminished value of their Defective Vehicles as a result of the defect
13   and FORD’s wrongful conduct related to same.
14                                   JURISDICTION AND VENUE
15          7.        This court has subject matter jurisdiction over this action under the
16   Class Action Fairness Act of 2005, 28 U.S.C. § 1332(d). Plaintiffs allege and
17   believe that the aggregate claims of the Class exceed $5,000,000 exclusive of
18   interest and costs. There are more than 100 Class Members, and many members of
19   the Class are diverse from FORD.
20          8.        This court has personal jurisdiction over FORD because FORD’s
21   contacts with the State of California are systematic, continuous, and sufficient to
22   subject them to personal jurisdiction in this Court.
23          9.        Venue is proper in this district under 28 U.S.C. § 1391 because a
24   substantial part of the events or omissions giving rise to the claims occurred within
25   this District.
26                                            PARTIES
27          10.       Plaintiff Benjamin Kegele is a permanent resident of the United States,
28   currently residing in the State of California, and is a resident of Elk Grove, which is


                                                  3
 1   in Sacramento County.
 2         11.    Plaintiff Kegele owns a 2021 Mustang Mach-E.
 3         12.    Plaintiff Thomas Dorobiala is a citizen of the State of California, and
 4   is a resident of Murrieta, which is in Riverside County.
 5         13.    Plaintiff Dorobiala owns a 2022 Mustang Mach-E.
 6         14.    Plaintiff Spenser Henry is a citizen of the State of Pennsylvania, and a
 7   resident of Lancaster, which is in Lancaster County.
 8         15.    Plaintiff Henry owns a 2022 Mustang Mach-E.
 9         16.    Plaintiffs were recently informed about the recall but their FORD
10   dealers have yet to correct the problem. It is not clear that FORD has a true solution
11   to the battery/overheating issue, particularly since it is unlikely that an “over the
12   air” software update can fix a hardware (contactor) problem.
13         17.    FORD should have disclosed the battery contactor defects when
14   Plaintiffs purchased the vehicles.
15         18.    Plaintiffs would not have purchased the vehicle or paid as much as
16   they did had they known of the defects.
17                                        Defendant
18         19.    FORD is a multinational automobile manufacturer, doing business in
19   all 50 states, headquartered in Dearborn, Michigan.         It is a publicly traded
20   corporation with its principle place of business at One American Road, Dearborn,
21   Michigan 48126.
22         20.    The Defective Vehicles were originally designed, manufactured,
23   marketed and distributed into the stream of commerce by FORD between May
24   2020 to May 2022. FORD also developed and disseminated the owner’s manuals,
25   warranty booklets, advertisements and other promotional materials pertaining to the
26   Defective Vehicles.
27
28   //


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 1                                  FACTUAL BACKGROUND
 2            21.   Pursuant to 49 C.F.R. § 573.6, which requires an automobile
 3   manufacturer to “furnish a report to the NHTSA for each defect…related to motor
 4   vehicle safety,” FORD submitted its Safety Recall Report on June 10, 2022. In it,
 5   FORD estimated that “100%” of 48,924 Mustang Mach-E vehicles sold during May
 6   2020 to May 2022 were involved in the recall. See Exh. A.
 7                                    FORD Issues a recall
 8            22.   FORD notified its dealers not to deliver the 2021 and 2022 Mustang
 9   Mach-E while it resolves the safety issue that could immobilize the vehicles during
10   operation.
11            23.   The problem, according to FORD, involves the primary contractors of
12   the vehicle’s battery which could overheat and cause loss of power or a failure to
13   start.
14            24.   In spite of these obvious safety concerns, FORD said it “has not issued
15   instructions to stop driving vehicles under this safety recall.”
16            25.   This recall, however, fails to address the design defects in the
17   Defective Vehicles which could disable the vehicles during operation.
18                            CLASS ACTION ALLEGATIONS
19
              26.   Plaintiffs bring this action as a class under F.R.C.P. 23(a), 23(b)(2),
20   and 34(b)(3) and on behalf of herself and all others similarly situated. Plaintiffs
21   seek to represent a nationwide class initially defied as:
22            27.   The Class is defined as:
23            All current and former owners and lessees of a Mustang Mach-
24            E vehicle sold during May 2020 to May 2022 who are subject to
25            the recall initiated by FORD. An appropriate sub-class exists
26            for all current and former California owners and lessees.
27            28.   Excluded from the class are FORD’s employees, affiliates, officers,
28   and directors, including franchised dealers, any individuals who experienced


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 1   physical injuries as a result of the defects at issue in this litigation, and the judge
 2   and court staff to whom this case is assigned. Plaintiffs reserve the right to amend
 3   the definition of the class if discovery or further investigation reveals that the class
 4   should be expanded or otherwise modified.
 5         29.      Numerosity and impracticality of joinder. The members of the class
 6   are so numerous that joinder of all members is impractical. Almost 50,000 Class
 7   Members purchased or leased the Mustang Mach-E during the liability period.
 8   These members of the class are easily and readily identifiable from information and
 9   records in FORD’s possession, custody, or control.
10         30.      Commonality and predominance. There are common questions of
11   law and fact that predominate over any questions affecting the individual members
12   of the class. Common legal and factual questions include, but are not limited to:
13         (a) Whether FORD breached the duty of reasonable care it owed to the Class;
14         (b) Whether FORD’s breach of its duties directly and proximately caused the
15               class damages;
16         (c) Whether FORD omitted, misrepresented, concealed, or manipulated
17               material facts from Plaintiffs and the Class regarding defects, the actions
18               taken to address the defects, and the result of those actions;
19         (d) Whether FORD had a duty to disclose those defects to Plaintiffs and the
20               other Class Members;
21         (e) Whether Plaintiffs and the Class Members are entitled to damages; and
22         (f) Whether Plaintiffs and the Class Members are entitled to equitable relief
23               or other relief, and the nature of such relief.
24
           31.      Typicality. Plaintiffs’ claims are typical of the claims of the other
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     Class Members because Plaintiffs and the Class Members purchased the vehicle
26
     that continued defective parts. Neither Plaintiffs nor the other Class Members
27
     would have purchased the Mustang Mach-E -- at the price paid -- had they known
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                                                   6
 1   of the defects in the vehicles. These defects pose an unreasonable risk of harm to
 2   the Plaintiffs and the Class.    Plaintiffs and the other Class Members suffered
 3   damages as a direct proximate result of the same wrongful practices that FORD
 4   engaged in. Plaintiffs’ claims arise from the same practices and course of conduct
 5   that give rise to the claims of the other Class Members. Plaintiffs’ claims are based
 6   upon the same legal theories as the claims of the other Class Members.
 7         32.    Adequacy. Plaintiffs will fully and adequately protect the interests of
 8   the other members of the class and have retained class counsel who are experienced
 9   and qualified in prosecuting class actions, including consumer class actions and
10   other forms of complex litigation. Neither Plaintiffs nor their counsel have interests
11   that conflict with the interests of the other Class Members.
12         33.    Declaratory and Injunctive Relief. FORD has acted or refused to act
13   on grounds generally applicable to Plaintiffs and the other members of the class,
14   thereby making appropriate final injunctive relief and declaratory relief, as
15   described below, with respect to the Class Members -- as a whole.
16         34.    Superiority. A class action is superior to all other available methods
17   for the fair and efficient adjudication of this controversy because, among other
18   thing: it is economically impracticable for members of the class to prosecute
19   individual actions; prosecution as a class action will eliminate the possibility of
20   repetitious and redundant litigation; and a class action will enable claims to be
21   handled in an orderly, and expeditious manner.
22                              FIRST CAUSE OF ACTION
23         Violation of Magnuson-Moss Warrant Act (Federal “Lemon Law”)
24                                15 U.S.C. §§ 2301, et seq.
25         35.    Plaintiffs repeat and reallege all paragraphs above as if fully set forth
26   herein.
27         36.    This court has jurisdiction to decide claims brought under 15 U.S.C. §
28   2301 by virtue of 28 U.S.C. § 1332(a)-(d).


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 1         37.    Plaintiffs are “consumers” within the meaning of the Magnuson-Moss
 2   Warranty Act, 15 U.S.C. § 2301(3).
 3         38.    FORD is a “supplier,” and “warrantor” within the meaning of the
 4   Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(4)-(5).
 5         39.    The Mustang Mach-E 2021-2022 and other Defective Vehicles are
 6   “consumer products” within the meaning of the Magnuson-Moss Warranty Act, 15
 7   U.S.C. § 2301(1).
 8         40.    15 U.S.C. § 2310(d)(1) provides a cause of action for any consumer
 9   who is damaged by the failure of a warrantor to comply with a written or implied
10   warranty.
11         41.    FORD’s express warranties are written warranties within the meaning
12   of the Magnuson-Moss Warranty Act, 15 U.S.C. § 2301(6). The Mustang Mach-E’s
13   implied warranties are covered under 15 U.S.C. § 2301(7).
14         42.    FORD breached these warranties.
15         43.    The amount in controversy of Plaintiffs’ individual claims meets or
16   exceeds the sum of $25. The amount in controversy of this action exceeds the sum
17   of $75,000, exclusive of interest and costs, computer on the basis of all claims to be
18   determined in this lawsuit. Plaintiffs, individually and on behalf of the other Class
19   Members, seek all damages permitted by law, including diminution of value of their
20   vehicles, in an amount to be proven at trial.
21                            SECOND CAUSE OF ACTION
22                    Violation of California Unfair Competition Law
23                        Cal. Bus. & Prof. Code §§ 17200, et seq.
24         44.    Plaintiffs repeat and reallege all paragraphs above as if fully set forth
25   herein.
26         45.    California Business and Professions Code § 17200 prohibits any
27   “unlawful, unfair, or fraudulent business acts or practices.”
28         46.    FORD has violated the unlawful and unfair prongs of § 17200 because


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 1   the Defective Vehicles share a common design defect in that they are equipped with
 2   defective battery contactor that can suddenly fail during normal operation, leaving
 3   occupants of the Defective Vehicles vulnerable to crashes, serious injury, and
 4   death. FORD has admitted that the Defective Vehicles are defective in issuing its
 5   recall.
 6             47.   FORD failed to adequately disclose and remedy this issue.
 7             48.   FORD’s conduct offends established public policy, as the harm FORD
 8   caused to consumer greatly outweighs any benefits associated with those practices.
 9             49.   Plaintiffs and the other Class Members have suffered an injury in fact,
10   including the loss of money or property, as a result of FORD’s unfair, unlawful,
11   and/or deceptive practices.
12             50.   FORD has violated the fraudulent prong of § 17200 because FORD
13   misrepresented the quality, safety, and reliability of the Defective Vehicles.
14             51.   The    Plaintiffs   and   the   Class   Members      relied   on   the
15   misrepresentations/omissions of FORD with respect to the quality, safety, and
16   reliability of the Defective Vehicles.      Plaintiff and the Class would not have
17   purchased or leased the Defective Vehicles and/or paid as much for them but for
18   FORD’s misrepresentations and/or omissions.
19             52.   All of the wrongful conduct alleged herein occurred, and continues to
20   occur, in the conduct of FORD’s business. FORD’s wrongful conduct is part of a
21   pattern or generalized course of conduct that is still perpetuated and repeated in
22   California.
23             53.   Plaintiffs, themselves and on behalf of the Class, request that this
24   Court enjoin FORD from continuing its unfair, unlawful, and/or deceptive practices
25   and restore to Plaintiff and the other Class Members any money acquired by its
26   unfair competition, including restitution and/or restitutionary disgorgement, as
27   provided in Cal. Bus. & Prof. Code § 17203, and Cal. Civ. Code § 334.
28



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 1                              THIRD CAUSE OF ACTION
 2                   Violation of the California False Advertising Law
 3                             Cal. Civ. Code §§ 17500, et seq.
 4         54.    Plaintiffs repeat and reallege all paragraphs above as if fully set forth
 5   herein.
 6         55.    Cal Business and Profession Code § 17500 states:
 7         It is unlawful for any…corporation…with intent directly or
 8         indirectly to dispose of real or personal property…to induce the
 9         public to enter into any obligation relating thereto, to make or
10         disseminate or cause to be made or disseminated…from this
11         state before the public in any state, in any newspaper or other
12         publication, or any advertising device,…or in any other manner
13         or means whatever, including over the Internet, any
14         statement…which is untrue or misleading, and which is known,
15         or which by the exercise of reasonable care should be known, to
16         be untrue or misleading.
17         56.    Through advertising, marketing, and other publications, FORD caused
18   statements to be disseminated that were untrue or misleading, and that were known,
19   or that by the exercise of reasonable care should have been known to FORD, to be
20   untrue and misleading to consumers, including Plaintiffs and other Class Members.
21         57.    FORD has violated § 17500 because its misrepresentations and
22   omissions regarding the safety and reliability of its Defective Vehicles were
23   material and likely to deceive a reasonable consumer.
24         58.    Plaintiffs and the other Class Members have suffered an injury in fact,
25   including the loss of money or property, as a result of FORD’s unfair, unlawful,
26   and/or deceptive practices.    In purchasing or leasing their Defective Vehicles,
27   Plaintiffs and the Class relied on the misrepresentations and/or omissions of FORD
28   with respect to the safety and reliability of the Defective Vehicles.


                                               10
 1         59.     FORD’s representations turned out to be false because the Defective
 2   Vehicles share a common design defect in that they are equipped with defective
 3   battery contactor that can suddenly fail during normal operations, leaving occupants
 4   of the Defective Vehicles vulnerable to crashes, serious injury, and death. Had
 5   Plaintiffs and the other Class Members known this, they would not have purchased
 6   or leased their Defective Vehicles and/or paid as much for them.
 7         60.     Accordingly, Plaintiffs and the Class overpaid for their defective
 8   vehicles and did not receive the benefit of their bargain.
 9         61.     All of the wrongful conduct alleged herein occurred, and continues to
10   occur in the conduct of FORD’s business. FORD’s wrongful conduct is part of a
11   pattern of generalized course of conduct that is still perpetuated and repeated in
12   California.
13         62.     Plaintiffs, themselves and on behalf of the Class, requests that this
14   Court enjoin FORD from continuing its unfair, unlawful, and/or deceptive practices
15   and to restore Plaintiffs and the other Class Members any money acquired by unfair
16   competition, including restitution and/or restitutionary disgorgement, and other
17   such relief as is appropriate.
18                             FOURTH CAUSE OF ACTION
19
        Violation of Song-Beverly Consumer Warranty Act (California’s “Lemon
20               Law”) for Breach of Warranty Cal. Civ. Code § 1790, et seq.
21         63.     Plaintiffs repeat and reallege all paragraphs above as if fully set forth
22   herein.
23         64.     Plaintiffs and the other Class Members who purchased their Defective
24   Vehicles in California are “buyers” within the meaning of Cal. Civ. Code § 1791.
25         65.     The Defective Vehicles are “consumer goods” within the meaning of
26   Cal. Civ. Code § 1791(a).
27         66.     FORD is a “manufacturer” of the Defective Vehicles within the
28   meaning of Cal. Civ. Code § 1791(j).


                                               11
 1          67.    Plaintiffs   and     the   Class    bought/leased   new   motor   vehicles
 2   manufactured by GM.
 3          68.    FORD made express warranties to Plaintiffs and the other Class
 4   Members within meaning of Cal. Civ. Code §§ 1791.2 and 1793.2 in its warranty,
 5   manual, and advertising, as described above.
 6          69.    The Defective Vehicles share a common design defect in that they are
 7   equipped with defective battery contactor that can suddenly fail during normal
 8   operations, leaving occupants of the Defective Vehicles vulnerable to crashes,
 9   serious injury, and death. FORD has admitted that the Defective Vehicles are
10   defective in issuing its recall.
11          70.    The Defective Vehicles are covered by FORD’s express warranties.
12   The defects described herein substantially impair the use, value, and safety of the
13   Defective Vehicles to reasonable consumers, including Plaintiffs and the Class.
14          71.    FORD was provided notice of these issues and defects by numerous
15   complaints filed against it, as well as its own internal knowledge derived from
16   testing and internal expert analysis.
17          72.    As a result of FORD’s breach of its express warranties, Plaintiffs and
18   the Class received goods whose dangerous condition substantially impairs their
19   value to Plaintiff and the other Class Members. Plaintiffs and the other Class
20   Members have been damaged as a result of diminished value of FORD’s products,
21   the product’s malfunctioning, and the non-use of their Defective Vehicles.
22          73.    Pursuant to Cal. Civ. Code §§ 1793.2 & 1794, Plaintiffs and the Class
23   are entitled to damages and other legal and equitable relief including, at their
24   election, the purchase price of their vehicles, or the overpayment or diminution in
25   value of their Defective Vehicles.
26          74.    Pursuant to Cal. Civ. Code § 1794, Plaintiff and the other Class
27   Members are entitled to costs and attorneys’ fees.
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 1                               FIFTH CAUSE OF ACTION
 2                 Violation of California Consumer Legal Remedies Act
 3                               Cal. Civ. Code §§ 1750, et seq.
 4          75.    Plaintiffs repeat and reallege all paragraphs above as if fully set forth
 5   herein.
 6          76.    Plaintiffs and the other Class Members were deceived by FORD’s
 7   failure to disclose that the Defective Vehicles share a common design defect in that
 8   they are equipped with defective battery contactors that can suddenly fail during
 9   normal operations, leaving occupants of the Defective Vehicles vulnerable to
10   crashes, serious injury, and death. FORD has admitted that the Defective Vehicles
11   are defective in issuing its recall.
12          77.    FORD intended for Plaintiffs and the other Class Member to rely on it
13   to provide safe, adequately designed, and adequately manufactured automobiles and
14   to honestly and accurately reveal the problems described throughout this
15   Complaint.
16          78.    FORD intentionally failed or refused to disclose the defect to
17   consumers and, instead allowed consumers to believe the representations it had
18   made about the Defective Vehicles.
19          79.    FORD’s conduct and deceptive omission were intended to induce
20   Plaintiffs and the Class to believe the defective vehicles were safe, adequately
21   designed, and adequately manufactured automobiles.
22          80.    FORD’s conduct constitutes unfair acts or practices as defined by the
23   California Consumer Legal Remedies Act (“CLRA”).
24          81.    Plaintiffs and the other class have suffered injury in fact and actual
25   damage resulting from FORD’s material omissions and misrepresentations because
26   they paid an inflated price for the Defective Vehicles.
27          82.    Plaintiffs and the other Class Members’ injuries were proximately
28   caused by FORD’s fraudulent and deceptive business practices.


                                               13
 1          83.   FORD’s conduct described herein is fraudulent, wanton, and
 2   malicious.
 3          84.   Pursuant to Cal. Civ. Code § 1782(d), Plaintiffs, themselves and on
 4   behalf of the Class, seeks a Court order enjoining the above-described wrongful
 5   acts and practices of FORD. Plaintiffs and the other Class Members request
 6   restitution, disgorgement, or damages under the CLRA pursuant to § 1782(d) of the
 7   Act.
 8          85.   Pursuant to § 1782 of the Act, Plaintiffs provided FORD written notice
 9   of its violations of the CLRA, and demands that FORD rectify the problems
10   associated with the actions detailed above and give notice to all affected consumers
11   of FORD’s intent to so act. Exhibit “B.”
12          86.   If FORD fails to rectify or agree to rectify the problems associated
13   with the actions detailed above, and give notice to all affected consumers within 30
14   days of the date of written notice pursuant to § 1782 of the Act, Plaintiffs will
15   amend this complaint to add claims for actual, punitive and statutory damages,
16   restitution, and disgorgement under the CLRA as appropriate under the Cal. Civ.
17   Code § 1780, and § 1782(d).
18          87.   Pursuant to § 1780(c) of the Act, attached hereto is the affidavit
19   showing that this action has been commenced in the proper forum. Exhibit “C.”
20                                   PRAYER FOR RELIEF
21          WHEREFORE, Plaintiffs pray for judgment as follows:
22          (a)   That the Court certify this action as a nationwide class action as to the
23   first cause of action and a California sub-class for the second, third, forth and fifth
24   causes of action -- appointing Plaintiffs as class representatives and appointing
25   Plaintiffs’ Counsel as lead counsel;
26          (b)   That the Court enjoin FORD from continuing the unfair practices
27   alleged in this Complaint and requiring FORD to repair the Defective Vehicles;
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 1         (c)    That the Court award Plaintiffs and the other Class Members
 2   compensatory damages in an amount to be proven at trial;
 3         (d)    That the Court award Plaintiffs and the other Class Members punitive
 4   damages in an amount to be proven at trial;
 5         (e)    That the Court award Plaintiffs and the other Class Members
 6   attorneys’ fees, costs, and expenses; and
 7         (f)    That the Court award Plaintiffs and the other Class Members all other
 8   and further relief as this Court deems appropriate and just under the circumstances.
 9
10
11
     Date: July 1, 2022                    DESAI LAW FIRM, P.C.

12                                         By /s/ Aashish Y. Desai
13                                           Aashish Y. Desai, Esq.
                                             M. Adrianne De Castro, Esq.
14                                           Attorneys for Plaintiffs, themselves
15                                           and on behalf of all others similarly
                                             situated
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17
18
                                   DEMAND FOR JURY TRIAL
19
           Plaintiffs request trial by jury on all issues so triable.
20
21
22   Date: July 1, 2022                    DESAI LAW FIRM, P.C.
23
                                           By /s/ Aashish Y. Desai
24                                           Aashish Y. Desai, Esq.
25                                           M. Adrianne De Castro, Esq.
                                             Attorneys for Plaintiffs, themselves
26                                           and on behalf of all others similarly
27                                           situated

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